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Pages 1-924 have been redacted.
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Individualized Needs Plan - Program Review (File copy) SEQUENCE: 02142899

Dept. of Justice / Federal Bureau of Prisons Team Date: 09-12-2021
Plan is for inmate: WAGNER, ERNEST 49383-0086

Facility: TRM TERMINAL ISLAND FCI
Name: WAGNER, ERNEST
Register No.: 49383-0086

Age: 73 DNA Status: PREBOP TST / 12-11-2018
Date of Birth: x CIMS Status: NO
Proj. Rel. Date: 11-11-2025 CIMS Reconciled: N/A
Proj. Rel. Method: GCT REL
Inmate is subject to 18 U.S.C. 4042(B) Notification: No
Inmate is subject to 18 U.S.C, 4042(C) Notification and Registration: N/A
Offense Sentences
|Charge Terms In Effect
18:2252(A}(2) AND (B)(1) CONSPIRACY TO DISTRIBUTE CHILD 60 MONTHS
PORNOGRAPHY, COUNT 1
Detainers
[Detaining Agency Remarks
NO DETAINER
Current CMA Assignments
|Assignment Description Start
BIR CERT N BIRTH CERTIFICATE - NO 09-09-2021
DEPEND N DEPENDENTS UNDER 21 - NO 09-09-2021
PHOTO IDN PHOTO ID - NO 09-09-2021
RPP NEEDS RELEASE PREP PGM NEEDS 10-28-2021
SSN CARD N SOCIAL SECURITY CARD - NO 09-09-2021
VET P/S.N PARENT/SPOUSE VETERAN - NO 09-09-2021
VETERAN N VETERAN - NO 09-09-2021
WA W CONV WALSH ACT HIST WITH CONVICTION 06-22-2021
Current Work Assignments
|Facl Assignment Description Start |
TRM A&O COMP A&O COMPLETE 12-29-2021
Current Education Information
|Facl Assignment Description Start
TRM ESL HAS ENGLISH PROFICIENT 08-19-2021
TRM GED HAS COMPLETED GED OR HS DIPLOMA 08-19-2021
Education Courses
[SubFacl Action Description Start Stop
NO COURSES

Discipline History (Last 6 months)

[Hearing Date Prohibited Acts

*" NO INCIDENT REPORTS FOUND IN LAST 6 MONTHS **
ARS Assignments

|Facl Assignment Reason Start Stop

TRM DRUG A-DES OTHER AUTH ABSENCE RETURN 12-29-2021 CURRENT

TRM DRUG A-DES OTHER AUTH ABSENCE RETURN 10-27-2021 12-29-2021

TRM DRUG A-DES OTHER AUTH ABSENCE RETURN 09-22-2021 10-21-2021

TRM DRUG A-DES TRANSFER RECEIVED 08-18-2021 09-13-2021

Current Care Assignments

[Assignment Description Start

a a 08-18-2021

— es 09-09-2021

Archived as of 01-03-2022 Individualized Needs Plan - Program Review (File Copy) Page 1 of 4

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Individualized Needs Plan - Program Review (File copy)

Plan is for inmate: WAGNER, ERNEST 49383-086

SEQUENCE: 02142899

Dept. of Justice / Federal Bureau of Prisons Team Date: 09-12-2021

Current Medical Duty Status Assignments

[Assignment Description Start
a es 11-21-2021
ma ee 12-11-2018
a es 12-11-2018
Current PTP Assignments

|Assignment Description Start

NO ASSIGNMENTS

Current Drug Assignments

[Assignment Description Start

a es 09-09-2021
FRP Payment Plan

[Most Recent Payment Plan

FRP Assignment: PART FINANC RESP-PARTICIPATES Start: 08-30-2021
Inmate Decision: AGREED $25.00 Frequency: QUARTERLY
Payments past 6 months: $25.00 Obligation Balance: $9,075.00
Financial Obligations
[No. Type Amount Balance Payable Status
1 ASSNT $100.00 $75.00 IMMEDIATE AGREED
[Adjustments: Date Added Facl Adjust Type Reason Amount
12-10-2021 TRM PAYMENT INSIDE PMT $25.00
2 REST FV $9,000.00 $9,000.00 IMMEDIATE AGREED

**“ NO ADJUSTMENTS MADE IN LAST 6 MONTHS **

FRP Deposits
Trust Fund Deposits - Past 6 months: $N/A Payments commensurate ? N/A
New Payment Plan: ** No data ™*

Current FSA Assignments

(Assignment Description Start

FTC INELIG FTC-INELIGIBLE-REVIEWED 09-09-2021
INELIG AUT FTC-INELIGIBLE OFF CODE - AUTO 08-18-2021
N-ANGER N NEED - ANGER/HOSTILITY NO 09-29-2021
N-ANTISO R NEED - ANTISOCIAL PEERS REFUSE 09-25-2021
N-COGNTV R NEED - COGNITIONS REFUSE 09-25-2021
N-DYSLEX R NEED - DYSLEXIA REFUSE 08-20-2021
N-FIN PV N NEED - FINANCE/POVERTY NO 09-03-2021
N-FM/PAR R NEED - FAMILY/PARENTING REFUSE 09-25-2021
N-M HLTH N NEED - MENTAL HEALTH NO 09-25-2021
N-MEDICL Y NEED - MEDICAL YES 08-23-2021
N-RLF Y NEED - REC/LEISURE/FITNESS YES 08-23-2021
N-TRAUMA N NEED - TRAUMA NO 08-18-2021
N-WORK Y NEED - WORK YES 08-19-2021
R-LW LOW RISK RECIDIVISM LEVEL 09-09-2021

Progress since last review

Inmate is anew commit to TRM; there is no academic coursework, vocational training, or disciplinary matters to discuss at this time.

Next Program Review Goals

recommended that you complete the following courses:

1. Healthy Steps For Older Adults

If this course is not available inquire/enroll in a closely related course that covers the FSA need for Medical.
It is also recommended that you obtain a work detail.

Inquire and enroll in an academic course that could assist you with your transitional needs, such as an ACE course, vocational trade courses, or FSA
programs. i.e. National Parenting Program Phase 1, Money Smart, Service Fit, Talking with you Doctor, or Brain Health, etc. However, it is highly

Archived as of 01-03-2022 Individualized Needs Plan - Program Review (File Copy)

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Individualized Needs Plan - Program Review (File copy) SEQUENCE: 02142899

Dept. of Justice / Federal Bureau of Prisons Team Date: 09-12-2021
Plan is for inmate: WAGNER, ERNEST 49383-086

Complete recommendations prior to 03/12/22.

Long Term Goals

Inquire and enroll in ten academic courses that could assist you with transitional needs, such as an ACE courses, vocational trade courses, or FSA
programs. i.e. AARP Foundation Finances 50+, Anger Management, Basic Cognitive Skills, Criminal Thinking, Seeking Safety, etc. Complete all FSA
recommended courses as well as the ROP course prior to 11/2025.

RRC/HC Placement

Comments

407/408 reviewed and current.

Judicial Recommendations: No.

In preparation for employment and reintegration into the community, Inmate is in the process of securing government identification and documents
pertinent to his future employment and reintegration.

Archived as of 01-03-2022 Individualized Needs Plan - Program Review (File Copy) Page 3 of 4

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Case 1:19-cr-00386-DLF Document 74 _ Filed 12/06/22 Page5of13

Individualized Needs Plan - Program Review (File copy) SEQUENCE: 02142899
Dept. of Justice / Federal Bureau of Prisons Team Date: 09-12-2021
Plan is for inmate: WAGNER, ERNEST 49383-086
Name: WAGNER, ERNEST DNA Status: PREBOP TST / 12-11-2018
Register No.: 49383-086
Age: 73

Date of Birth: a

= Ne aad Usa ry

Inmate (WAGNER, ERNEST. Register No.: 49383-086)

o-12 “oh!
Date
fx
4 (b)(); (b)(7(C)
Unit Manager / Chairperson Case warager—> -
a1 pu Q-12-7024
Date | | Date
Individualized Needs Plan - Program Review (File Copy) Page 4 of 4

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Case 1:19-cr-00386-DLF Document 74 _ Filed 12/06/22 Page 6 of 13
WXRBT 540*23 * SENTENCE MONITORING * 0fT-25-2022

PAGE OO1 $ COMPUTATION DATA * 08:07:50
AS OF 01-25-2022

REGNO,.: 49383-086 NAME: WAGNER, ERNEST

FBI NO...........: XRVRETO6J DATE OF BIRTH: J ace: 73
PRS wyiiaiecieivrveed  TRM/ADES

UNITS cucxesrsanawa? B QUARTERS.....: H01-003L
DETAINERS....,....2 NO NOTIFICATIONS: NO

FSA ELIGIBILITY STATUS IS: INELIGIBLE
THE FOLLOWING SENTENCE DATA IS FOR THE INMATE'S CURRENT COMMITMENT,
HOME. DETENTION ELIGIBILITY DATE....: 05-14-2025

THE INMATE IS PROJECTED FOR RELEASE: 11-11-2025 VIA GCT REL

~--------------------- CURRENT JUDGMENT/WARRANT NO: 010 —------~-------------——

COURT OF JURISDICTION...........: DIST OF COLUMBIA, DISTRICT CRT
DOCKET NUMBER: «ncaa wa we os aw s ~acl CR 19-386
JUDGE a ¢.ia-vs. asi RE DA e are ig melee ByEVe aU : FRIEDRICH
DATE. SENTENCED/PROBATION IMPOSED: 06-04-2021
BATE: COMME TCUBIGS 635 ie.2 35,86: thnded iin km : 08-16-2021
HOW COMME TTED io. thi temas Omaha ee wie : US DISTRICT COURT COMMITMENT
PROBATION IMPOSED... 6.00000 sieves sae NO

FELONY ASSESS MISDMNR ASSESS FINES COSTS
NON-COMMITTED.: $100.00 $00.00 $00.00 $00.00
RESTITUTION...: PROPERTY: NO SERVICES: NO AMOUNT: $9,000.00

~-+-----~---------------- CURRENT OBLIGATION NO: 010 -------------------------——
OFFENSE CODE.,..: 512 18:2251-2,2260 OBSCENE MATTR FSA INELIGIBLE
OFF/CHG: 18:2252(A) (2) AND (8) (1) CONSPIRACY TO DISTRIBUTE CHILD

PORNOGRAPHY, COUNT 1

SENTENCE PROCEDURE....+-s-e+++-+? 3559 PLRA SENTENCE
SENTENCE IMPOSED/TIME TO SERVE.: 60 MONTHS

TERM OF SUPERVISION..........4.¢.2 LIFE

BATE OF OFPENSE so snisigess caine ce th Ve s1—<2017

GO002 MORE PAGES TO FOLLOW...

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WKRBT 540*23 *
PAGE 002 OF 002 *

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SENTENCE MONITORING O1-25-2022
COMPUTATION DATA # 08:07:50

AS OF 01-25-2022

REGNO..:

~~--------------~-------- CURRENT COMPUTATION NO:

49333-0386 NAME: WAGNER, ERNEST

O10

COMPUTATION 010 WAS LAST UPDATED ON 08-18-2021 AT DSC AUTOMATICALLY
COMPUTATION CERTIFIED ON 08-20-2021 BY DESIG/SENTENCE COMPUTATION CTR

THE FOLLOWING JUDGMENTS, WARRANTS AND OBLIGATIONS ARE INCLUDED IN

CURRENT COMPUTATION 010: 010 O10

DATE COMPUTATION BEGAN... 2.2. eee

TOTAL TERM IN EFFECT. whee eee weed

TOTAL TERM IN EFFECT CONVERTED..:
EARLIEST DATE OF OFFENSE........7

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TOTAL
TOTAL

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INOPERATIVE TIME... co. eee ed
TOTAL GCT EARNED AND PROJECTED..3;
TOTAL ‘GOT BARNB Dw aside eink eee ae t
STATUTORY RELEASE DATE PROJECTED:
ELDERLY OFFENDER TWO THIRDS DATE:
EXPIRATION FULL TERM DATE.......:
LEME SERVED ips wae ow estas aa eR 3
PERCENTAGE OF FULL TERM SERVED. .:
PERCENT OF STATUTORY TERM SERVED:

PROJECTED SATISFACTION DATE..4...3
PROJECTED SATISFACTION METHOD...3

so055

08-18-2021
60 MONTHS
5 YEARS

01-31-2017

FROM DATE
12-11-2018

THRU DATE
12-19-2018

270
0
11-11-2025
12-08-2024
08-08-2026
5 MONTHS
aS
10.9

17 DAYS

Li-il=2025
GCT REL

NO PRIOR SENTENCE DATA EXISTS FOR THIS INMATE

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WXRBT INMATE EDUCATION DATA 01-25-2022
PAGE 001 OF 001 * TRANSCRIPT é 08:07:00
REGISTER NO: 49383-086 NAME..: WAGNER FUNC: PRT
FORMAT.....: TRANSCRIPT RSP OF: TRM-TERMINAL ISLAND FCI
~------~----=--------------- EDUCATION INFORMATION ~----—---------------------——
FACL ASSIGNMENT DESCRIPTION START DATE/TIME STOP DATE/TIME
TRM ESL HAS ENGLISH PROFICIENT 08-19-2021 0716 CURRENT
TRM GED HAS COMPLETED GED OR HS DIPLOMA 08-19-2021 0716 CURRENT
Goo0o TRANSACTION SUCCESSFULLY COMPLETED

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WXRBT = INMATE DISCIPLINE DATA vm O1-25-2022

PAGE Q0O1 OF QO1 * CHRONOLOGICAL DISCIPLINARY RECORD & 08:01:50

REGISTER NO: 493363-086 NAME..: WAGNER, ERNEST
FUNCTION...: PRT FORMAT; CHRONO LIMIT To MOS PRIOR TO O1-25-2022

65401 DISCIPLINE DATA DOES NOT EXIST FOR THIS INMATE

bop foia 2022-01909 4 of 4
Case 1:19-cr-00386-DLF Document 74 _ Filed 12/06/22 Page 10of13
Male: 4-25-22

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Case 1:19-cr-00386-DLF Document 74 _ Filed 12/06/22 Page11of13

TRULINCS 49383086 - WAGNER, ERNEST - Unit: RCH-C-A

FROM: RIS Coordinator

TO: 49383086

SUBJECT: RE:***Inmate to Staff Message***
DATE: 04/21/2022 02:42:02 PM

Still awaiting final decision from the Warden. Since it has been over 30 days now without response from the Warden you have
the right to appeal directly to your court. If you need the paperwork | can provide it to you but cannot assist with that process.

From: ~“! WAGNER, ~“IERNEST <49383086@inmatemessage.com>

Sent: Friday, April 15, 2022 2:25 PM

To: RCH-InmateToRISCoordinator (BOP) >

Subject: **“Request to Staff*** WAGNER, ERNEST, Reg# 49383086, RCH-C-A

To:
Inmate Work Assignment: Patient 9-2

And it looks like the "new doctor" has her hands full with at least 8 covid-19 cases. Also, because of an accident on 3/22/22, |
was informed by the Mayo Clinic that my heart failure continues to worsen, down to 30% from 40%. Because 30 days has

passed and my health continues to worsen, | was hoping for some advise as to waiting for the doctor to become available, or to
submit a BP-9

Thanks,
Ernie Wagner
-----RIS Coordinator on 3/23/2022 9:37 AM wrote:

>

| am unaware of anything about the BP-9 you submitted at another institution and have no access to that information. | did

basically put you in as a new request and your new doctor will be evaluating you here. You should follow up with unit team
about the BP-9 issue.

From: ~*!"WAGNER, ~“IERNEST" <49383086@inmatemessage.com> <49383086@inmatemessage.com>
Sent: Friday, March 18, 2022 8:20 PM
Subject: ***Request to Staff*** WAGNER, ERNEST, Reg# 49383086, RCH-C-A

To:
Inmate Work Assignment: Patient 9-2

My attorney advised me that the RIS process and denial | started at the Terminal Island FCI continues to be valid for Rochester

Federal Medical Center. | was waiting for a response to the the BP-9 Administrative Remedy when | was suddenly transferred
to the RFMC.

| must have incorrectly inferred that | had to start a new request for RIS at this location. My question is, will the response to my
BP-9 from TRM FCI be forwarded to me here, or would it be better to wait for the result of denial here and start a new
Administrative Remedy process? Because of the possible delay of receiving the BP-9 result from TRM FCI, | will not have time

to submit a BP-10.

Thank You

----- RIS Coordinator on 3/17/2022 7:32 AM wrote:

Thank you, we will review your request.

>>> ~‘I"WAGNER, ~*IERNEST" <49383086@inmatemessage.com> 3/16/2022 9:13 PM >>>
horas Work Assignment: Patient 9-2

| will live at:
Case 1:19-cr-00386-DLF Document 74 _ Filed 12/06/22 Page12o0f13

TRULINCS 49383086 - WAGNER, ERNEST - Unit: RCH-C-A

with my wife, a
The property is in both my wife's and my name and | hold the mortgage.

| am retired and have three incomes:
Pension from American Radio Association: Approximately $3600/Month

Social Security: Approximately $1500/Month
Pension from Hewlett Packard: Approximately $130/Month

My Wife and stepson's family have indicated that they will support my adjustment back into the community.
-----RIS Coordinator on 3/16/2022 7:52 AM wrote:

>

For us to consider your request you must include a release plan. Please respond with where you will live and how you will
support yourself upon release.

>>> ~AI"WAGNER, ~“IERNEST" <49383086@inmatemessage.com> 3/15/2022 9:00 PM >>>
To:

Inmate Work Assignment: Patient 9-2
| am requesting the Bureau of Prisons motion the judge for compassionate release.

My age of 74 and considerable health issues including diabetes, heart failure, and heart attack increase my risk of Long COVID
-19 and it's virulent effects.

Also, being in close proximity to staff and inmates increases my probability of becoming infected.

In my case, the current COVID-19 pandemic provides compelling and extraordinary circumstances for compassionate release.

Thank You,
Case 1:19-cr-00386-DLF Document 74 _ Filed 12/06/22 Page 13o0f13

Response to Inmate Request to Staff

WAGNER, Ernest
Reg. No. 49383-086

This is in response to your request for compassionate release based on
concerns about COVID-19 and your medical circumstances. After careful
consideration, your request is denied.

Title 18 of the United States Code, section 3582(c) (1) (A), allows a
sentencing court, on motion of the Director of the BOP, to reduce a
term of imprisonment for extraordinary or compelling reasons. BOP
Program Statement No. 5050.50, Compassionate Release/Reduction in
Sentence: Procedures for Implementation of 18 U.S.C. §§ 3582(c) (1) (A)
and 4205(g), provides guidance on the types of circumstances that
present extraordinary or compelling reasons, such as the inmate’s
terminal medical condition; debilitated medical condition; status as a
“new law” elderly inmate, an elderly inmate with medical conditions,
or an “other elderly inmate”; the death or incapacitation of the
family member caregiver of the inmate’s child; or the incapacitation
of the inmate’s spouse or registered partner. Your request has been
evaluated consistent with this general guidance.

At this time, you have not identified any extraordinary or compelling
circumstances warranting consideration for compassionate release. The
BOP is taking extraordinary measures to contain the spread of COVID-19
and treat any affected-inmates. We recognize that you, like all of
us, have legitimate concerns and fears about the spread and effects of
the virus. However, these concerns do not currently warrant an early
release from your sentence. In addition, you do not meet the criteria
under “Debilitated Medical Circumstances.” An evaluation of your
medical records indicate you are generally independent with
instrumental activities of daily living.

Accordingly, your request is denied. If you are not satisfied with

this response, you may appeal through the Administrative Remedy
Program.

NE — olne7
J. leman, Warden ; Date

